       Case 3:11-cr-01448-MMA                         Document 1593                Filed 12/10/13              PageID.6079             Page 1 of
                                                                              4

    ~AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations

                Sheet I

                                                                                                         \3~\I\IIl~
                                            UNITED STATES DISTRICT Co . . . .,:.'::;t/;\\~:,;~)\.:1~:,
                                                                                                         'i   'i   .',   h   .


                                                  SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                   [}~pun
                   UNITED STATES OF AMERICA                                       JUDGMENT'IN A CRIMINAL CASE
                                       V.                                         (For Revocation of Probation or Supervised Release)
                   GAUTHIER KAMBANDA (27),                                        (For Offenses Committed On or After November 1, 1987)


                                                                                  Case Number: llCR1448-MMA

                                                                                  Lupe C. Rodriguez
                                                                                  Defendant's Attorney
    REGISTRAnON No. 25436298
D
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No.,,.:3_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o   was found in violation of alJegation(s) No.                                                     after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):

    Allegation Number           Nature of Violation
            3         Committed a fedeml, state or local offense (nvl)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                      4    of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Untted States Attorney of any material change in the
    defendant's economic circumstances.




                                                                                  HaN. MICHAEL M. ANELLO
                                                                                                                         ~
                                                                                  UNITED STATES DISTRICT JUDGE




                                                                                                                                     llCR1448-MMA
     Case 3:11-cr-01448-MMA                           Document 1593               Filed 12/10/13      PageID.6080          Page 2 of
                                                                             4
AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
           Sheet 2 - Imprisonment

                                                                                                    Judgment - Page   2     of    4
 DEFENDANT: GAUTHIER KAMBANDA (27),
 CASE NUMBER: llCR1448-MMA
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a tenn of
          TWO (02) MONTHS




     o The court makes the following recommendations to the Bureau of Prisons:


     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Da.m.         Dp.m.       on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o     before
                          -----------------------------------------------------
           o    as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                        to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                             By
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                           llCR1448-MMA
        Case 3:11-cr-01448-MMA                      Document 1593                Filed 12/10/13             PageID.6081              Page 3 of
                                                                             4
AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sheet 3 Supervised Release
                                                                                                               Judgment-Page    --1- of _-...;4.:...-_ _
DEFENDANT: GAUTHIER KAMBANDA (27),                                                                    II
CASE NUMBER: IICRI448-MMA
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THIRTY-FOUR (34) MONTHS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
!gj     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

181     The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563{a)(7) and 3583{d).
o       The detendant shall comply with llie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shaH not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11 )     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 \2)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notifY third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                       llCR1448-MMA
  Case 3:11-cr-01448-MMA                             Document 1593       Filed 12/10/13         PageID.6082            Page 4 of
                                                                     4
AO 245B    (Rev. 9/00) Judgment in a Criminal Case
           Sheet 4 - Special Conditions
                                                                                                Judgment-Page     "     of _;.];.4_ __
DEFENDANT:               GAUTHIER KAMBANDA (27),                                                        II
CASE NUMBER: IICRI448-MMA

                                          SPECIAL CONDITIONS OF SUPERVISION

I. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time
   and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
   release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the
   premises may be subject to searches pursuant to this condition.

2. Resolve all outstanding warrants within 60 days.

3. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to
   the probation officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion, or
   voluntary departure.

4. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any
   third-party communication, with the victim(s) or victim(s)'s family, without approval of the probation officer.

5. Not associate with or have any contact with any known pimps and/or known prostitutes, unless in an approved treatment or
   counseling setting.

6. Not accept or commence employment without prior approval of the probation officer, and employment should be subject to
   continuous review and assessment by the probation officer.

7. Consent to third-party disclosure to any employer, potential employer, concerning any restrictions that are imposed by the court.

8. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be pre-approved by the
   probation officer.

9. Shall not associate with any known probationer, parolee, or gang member, including but not limited to any Insane Crip Gang
    member or affiliate, Deep Valley Crip or affiliate, or Crook, Mob, Gangsters, or affiliate or anyone specifically disapproved by
    the probation officer.

10. Participate in an approved mental health treatment as directed by the probation officer.

II. Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the
    probation officer. May be required to contribute to the costs of services rendered in an amount to be determined by the
    probation officer, based on the ability to pay.

12. Reside in a Residential Reentry Center (RRe) as directed by the probation officer for a period of up to 150 days.




                                                                                               II CR I 448-MMA
